                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF WASHINGTON




    MARC BARRECA                                              U.S. Courthouse
    U.S. BANKRUPTCY JUDGE                                     700 Stewart St., Room 7121
                                                              Seattle, WA 98101
                                                              (206) 370-5310
    Jessica G. Smith
    Judicial Assistant



                                   September 9, 2020


    Pamela Dalane Thompson Cook
    629 S. Davies Road, Unit B
    Lake Stevens, WA 98258

             Re: Pamela Dalane Thompson Cook           Case No. 20-12307-MLB
             Reaffirmation Agreement with Alaska Federal Credit Union (Docket #9)
             Reaffirmation Hearing: October 14, 2020, at 10:00 AM

    Dear Ms. Thompson Cook:

            We are in receipt of the Reaffirmation Agreement you executed with Alaska
    Federal Credit Union regarding a 2015 Nissan Altima vehicle (Docket #9). Since you
    are not represented by counsel, a hearing is necessary. Therefore, a hearing regarding
    the Reaffirmation Agreement is scheduled for Wednesday, October 14, 2020 at 10:00
    AM. This hearing will be held telephonically, please use the following dial-in
    information:

     Please use the following information to dial in:
     (1) Dial: 1-888-363-4749
     (2) Enter Access Code: 9365479#
     (3) Press the # sign
     (4) Enter Security Code when prompted: 8574#
     (5) Speak your name when prompted

    Guidelines
    (1) Use a land line phone and not a cell phone, if possible. Do not use a speaker
    phone.
    (2) Make the call from a quiet area where background noise is minimal.
    (3) Wait until the judge calls your case before speaking.
    (4) Do not put the phone on hold at any time after the call is connected.




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    (5) In the event you are unable to connect to the conference call after following the
    above procedures, please contact chambers at (206) 370-5310.

    Please do not hesitate to call if you have any questions.


                                          Respectfully yours,

                                          /s/ Jessica G. Smith

                                          Judicial Assistant to Judge Marc Barreca


     cc: Alaska Federal Credit Union
         Virginia A Burdette, Trustee
         U.S. Trustee




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